            Case 3:18-cv-02011-VAB Document 17 Filed 03/22/19 Page 1 of 3



                               UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF CONNECTICUT


TODD M. CASSILE,
                                                      CIVIL ACTION NO. 3:18-cv-02011-VAB
                Plaintiff,

v.

OCWEN LOAN SERVICING LLC,

                Defendant.


                                    INITIAL DISCLOSURES

        Pursuant to Rule 26(a) of the Federal Rules of Civil Procedure, Defendant Ocwen Loan

Servicing LLC (“Ocwen”) makes the following initial disclosures:

       1.       Rule 26(a)(1)(A)(i): the name and, if known, the address and telephone number of

                each individual likely to have discoverable information—along with the subjects

                of that information—that the disclosing party may use to support its claims or

                defenses, unless the use would be solely for impeachment:

                A.      Todd M. Cassile
                        102 Benham Street
                        Bristol, CT 06010

                Mr. Cassile, the plaintiff in this action, may have knowledge regarding the note

and the mortgage that are the subject of this action, his loan payment history, communications or

conversations with Ocwen, and/or facts giving rise to his claims for damages.

                B.      Michelle Cassile
                        102 Benham Street
                        Bristol, CT 06010

                Michelle Cassile, the plaintiff’s wife, may have knowledge regarding the note and

the mortgage that are the subject of this action, communications or conversations with Ocwen,

and/or facts giving rise to the plaintiff’s claims for damages.


                                                                                 303388319v1 1016246
            Case 3:18-cv-02011-VAB Document 17 Filed 03/22/19 Page 2 of 3



                C.     Ocwen Loan Servicing, LLC
                       c/o Hinshaw & Culbertson LLP
                       53 State Street, 27th Floor
                       Boston, MA 02109

                Ocwen may have knowledge regarding: the note and the mortgage, the plaintiff’s

loan payment history, and conversations or communications with the plaintiff and/or his wife.

       Ocwen reserves the right to supplement this response if and when additional information

becomes know.

       2.       Rule 26(a)(1)(A)(ii): a copy—or a description by category and location—of all

                documents, electronically stored information, and tangible things that the

                disclosing party has in its possession, custody, or control and may use to support

                its claims or defenses, unless the use would be solely for impeachment:

                a.     The note and mortgage;

                b.     Mortgage Loan Statements and Mortgage Interest Statements;

                c.     loan payment history; and

                c.     Correspondence and communications between the plaintiff and/or his

wife, and Ocwen.

       Ocwen reserves the right to supplement this response if and when additional information

becomes known.

       3.       Rule 26(a)(1)(A)(iii): a computation of each category of damages claimed by the

                disclosing party—who must also make available for inspection and copying as

                under Rule 34 the documents or other evidentiary material, unless privileged or

                protected from disclosure, on which each computation is based, including

                materials bearing on the nature and extent of injuries suffered:

       Ocwen is not seeking damages in this action.


                                                  2
                                                                                   303388319v1 1016246
              Case 3:18-cv-02011-VAB Document 17 Filed 03/22/19 Page 3 of 3



         4.       Rule 26(a)(1)(A)(iv): for inspection and copying as under Rule 34, any insurance

                  agreement under which an insurance business may be liable to satisfy all or part

                  of a possible judgment in the action or to indemnify or reimburse for payments

                  made to satisfy the judgment:

         Ocwen states that this disclosure is not applicable.



                                                       Respectfully submitted,

                                                       Ocwen Loan Servicing, LLC
                                                       Litton Loan Servicing LP
                                                       By: Their Attorney

                                                       /s/ Marissa I. Delinks
                                                       Marissa I. Delinks, CT #29369
                                                       HINSHAW & CULBERTSON LLP
                                                       53 State Street, 27th Floor
                                                       Boston, MA 02109
                                                       Tel: 617-213-7000/Fax: 617-213-7001
                                                       Email: mdelinks@hinshawlaw.com
Dated:          March 22, 2019

                                  CERTIFICATE OF SERVICE

        I, Marissa I. Delinks, hereby certify that the documents filed through the ECF system will
be sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) and paper copies will be sent to those indicated as non-registered participants on March
22, 2019.

Loraine Martinez Bellamy, Esq.
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Hartford, CT 06106
Tel: 860-263-0732
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                                                       /s/ Marissa I. Delinks
                                                       Marissa I. Delinks




                                                   3
                                                                                     303388319v1 1016246
